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 2   1710 BROADWAY, SUITE 111
     Sacramento, California 95818
 3   Telephone: (916) 804-8656
 4   Attorney for Defendant
     Eduardo Llamas-Montez
 5
 6                    IN THE UNITED STATES DISTRICT COURT
 7                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )         NO. CR. S.07-086 FCD
                                 )
11                 Plaintiff,    )
                                 )         Stipulation and Order to Continue
12        v.                     )         Status Conference
                                 )
13   JOSE LOPEZ, et. al.,        )         Date: March 3, 2008
                                 )         Time: 10:00 a.m.
14                 Defendants.   )         Court: Hon. Frank C. Damrell, Jr.
                                 )
15   ___________________________ )
16      Defendants, Jose Lopez, Elisandro Ambriz-Munoz, Eduardo Llamas-
17 Montes and Salvador Camacho-Lopez, by and through their undersigned
18 counsel and the United States, by and through Assistant United States
19 Attorney Heiko Coppola, hereby agree and stipulate that the status
20 conference previously scheduled for January 22, 2008, be continued
21 to March 3, 2008 at 10:00 a.m.
22      The parties agree that the status conference set for January 22,
23 2008 should be continued to March 3, 2008 to allow counsel sufficient
24 time to investigate, prepare and continue negotiation.                  Time should
25 be   excluded    for    preparation     of    counsel     under    18    U.S.C.   §
26 3161(H)(8)(b)and pursuant to local code T4.
27
28
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 1                                    Respectfully submitted,
 2                                    /s/ Shari Rusk
     Dated: January 4, 2008           Shari Rusk
 3                                    Attorney for Defendant
                                      Eduardo Llamas-Montes
 4
 5                                    /s/ Gilbert Roque
                                      Attorney for Defendant
 6                                    Elisandro Ambriz-Munoz
 7                                    /s/ Roy Miller
                                      Attorney for Defendant
 8                                    Jose-Flores Lopez
 9
                                      /s/ David Eyster
10                                    Attorney for Defendant
                                      Salvador Camacho-Lopez
11
12
13
                                      /s/ Heiko Coppola
14   Dated: January 4, 2008           Heiko Coppola
                                      Assistant United States Attorney
15
16
17                              ORDER
18   IT IS SO ORDERED.
19
     Dated: January 4, 2008
20
                                          _______________________________________
21                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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